                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF
                                    PENNSYLVANIA


 DANIEL HUBERT, individually and on behalf of :          Civil Action No. 2:15-cv-01391-MRH
 all others similarly situated,               :
                                              :
                          Plaintiff,          :
                                              :              Oral Argument Requested
         v.                                   :
                                              :              This Document Relates
 GENERAL NUTRITION CORPORATION,               :              All Actions
                                              :
                          Defendant.          :
                                              :
 (In re: GNC Picamilon/BMPEA Litigation)      :


                   PLAINTIFFS’ BRIEF IN SUPPORT OF MOTION TO
                    STRIKE DECLARATION OF STEPHEN CHERRY
       Plaintiffs, on behalf of themselves and members of the putative class, hereby move this

Court to strike certain portions of the Declaration of Stephen Cherry (“Cherry Decl.”), attached

to Defendant General Nutrition Corporation’s (“Defendant” or “GNC”) Motion to Dismiss First

Amended Consolidated Complaint (“Motion to Dismiss” or “Mot.”). Plaintiffs further move the

Court to disregard all references or inferences in Defendant’s Motion to Dismiss relating to the

stricken paragraphs.
I.     INTRODUCTION
       In support of its Motion to Dismiss, Defendant submitted the declaration of Stephen

Cherry, Vice President of Purchasing and Replenishment at Defendant General Nutrition

Corporation (“Defendant” or “GNC”). Dkt. No. 49-1. Cherry’s Declaration is replete with

unsubstantiated and baseless facts, documents that cannot be considered by the Court in
evaluating the Motion to Dismiss, and averments of self-interest that lack any foundation and are

impermissible under well-established law and the Federal Rules of Evidence. These should be

stricken because they are beyond the scope of Cherry’s personal knowledge, are irrelevant to

Plaintiffs’ Complaint, and contain inadmissible hearsay. In addition, Defendant submitted
certain averments to contradict the well-pleaded facts in Plaintiffs’ Complaint and support

GNC’s defense to Plaintiffs’ claims, which is improper in a Motion to Dismiss. Accordingly, the

Cherry Declaration should be stricken and all references or inferences contained in Defendant’s

Motion to Dismiss relating to the challenged portions of the Cherry Declaration should be

disregarded.
II.      ARGUMENT
         A.       The Court Should Strike Paragraph Eight of the Cherry Declaration Because
                  It Is Not Based on Personal Knowledge and Makes Conclusory, Baseless
                  Statements
         In Paragraph Eight of his Declaration, Cherry states that the declaration of Dr. Welch of

the FDA “was apparently solicited in the context of litigation by the Attorney General for the

State of Oregon (“OAG”) as leverage to force a quick payout from GNC.” Cherry Decl., ¶ 8.

This statement has absolutely no factual or evidentiary support, is rank speculation, and should

be stricken. 1
         Rule 701 of the Federal Rules of Evidence provides:
                  If the witness is not testifying as an expert, testimony in the form of an
                  opinion is limited to one that is: (a) rationally based on the witness’s
                  perception; (b) helpful to clearly understanding the witness’s testimony or
                  to determining a fact in issue; and (c) not based on scientific, technical, or
                  other specialized knowledge within the scope of Rule 702.
The Third Circuit has found that “a lay opinion must be rationally based on the witness’s

perception and ‘firsthand knowledge of the factual predicates that form the basis for the

opinion.’” Hirst v. Inverness Hotel Corp., 544 F.3d 221, 225 (3d Cir. 2008) (quoting Gov’t of

V.I. v. Knight, 989 F.2d 619, 629 (3d Cir. 1993)); Prescott v. R & L Transfer, Inc., 111 F. Supp.

3d 650, 658 (W.D. Pa. 2015) (citing, inter alia, Teen-Ed, Inc. v. Kimball Intern., Inc., 620 F. 2d

399, 403 (3d Cir. 1980)) (“Rule 701 permits a lay witness to offer an opinion on the basis of


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  Relying upon this unfounded statement in Cherry’s Declaration, Defendant argues in its Motion to Dismiss that
“Dr. Welch’s Declaration was not the result of spontaneous agency action, but rather was drafted at the specific
request of the OAG to use as leverage to force GNC’s capitulation and for use in planned litigation.” See Mot. at 6.
Defendant also argued that “Dr. Welch’s declaration had but one purpose when it was written: to assist the OAG in
litigation.” Id. at 8. Like the improper statements in the Cherry Declaration, these statements in GNC’s brief are
improper and should be disregarded.

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facts that the witness has perceived, provided that the opinion is well founded on personal

knowledge and subject to cross-examination.”). Furthermore, a court may “strike portions of an

affidavit that are not based upon the affiant’s personal knowledge, contain inadmissible hearsay

or make generalized and conclusory statements.” Hollander v. American Cyanamid Co., 172

F.3d 192, 198 (2d Cir. 1999).

       Here, Cherry has no firsthand or specialized knowledge to support his assertions. As

Vice President of Purchasing and Replenishment at GNC, Cherry would have no reason to know

of – or question – the purpose of Dr. Welch’s declaration or the declaration’s solicitation by the

Oregon Attorney General (or even if it was, in fact, “solicited”). Cherry does not say that he was

involved in any communications among Dr. Welch, the OAG or the FDA, to the extent any

communications even occurred, and he does not give any basis for his conclusion. Cherry’s

opinion is based on pure speculation and must therefore be stricken. See Vesom v. Atchison

Hosp. Ass’n, 279 F. App’x 624, 632-34 (10th Cir. 2008) (affirming district court’s order striking

affidavits that were not based upon personal knowledge, consisted of conclusory statements, and

contained inadmissible hearsay regarding declarant’s “subjective beliefs as to the intent, thoughts

or motivations of others,” where the declarant failed to present personally observed statements or

conduct as the basis for his opinion). Cherry’s statements in Paragraph Eight of his Declaration,

“given out of self-interest and without any foundation,” are improper and should be stricken.

Hirst, 544 F.3d at 227.
       B.      The Court Should Strike Paragraph Nine of the Cherry Declaration Because
               It Contains Inadmissible Hearsay
       Paragraph Nine of the Cherry Declaration contains inadmissible hearsay to the extent that

it references an email purportedly sent to GNC’s counsel in Oregon by David Hart, Oregon

Senior Assistant Attorney General. See Cherry Decl., ¶ 9, Ex. F. Fed. R. Evid. 801 provides that

hearsay is a statement that (1) the declarant does not make while testifying at the current trial or

hearing; and (2) a party offers in evidence to prove the truth of the matter asserted in the

statement. Hearsay is inadmissible unless it falls under certain exceptions that do not apply here.


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           According to Cherry, the email at issue stated that GNC “‘should be aware of the

assistance that FDA is providing in this matter[,]’… that the [Welch] declaration ‘will be used in

any litigation’ and then advised that the OAG’s Complaint would seek civil penalties going back

to 2007.” Cherry Decl., ¶ 9. Cherry attempts to use this email to bolster his baseless opinion

that “Dr. Welch’s Declaration was not the result of spontaneous agency action, but rather was

drafted at the specific request of the OAG to use as leverage to force GNC’s capitulation and for

use in planned litigation.” See Mot. at 6; see also id. at 8 (“Dr. Welch’s declaration had but one

purpose when it was written: to assist the OAG in litigation.”). However, Cherry cannot testify

to an out-of-court email on which he is not a sender or recipient, let alone offer the email for the

purported truth of its contents. 2 See Fed. R. Evid. 801; White v. Brown, 408 Fed. Appx. 595, 599
(3d Cir. 2010) (email between non-parties deemed inadmissible hearsay). Accordingly,

Paragraph Nine should be stricken and the Court should not consider the email in deciding

GNC’s Motion to Dismiss.
           C.       The Court Should Strike Paragraph Fifteen of Cherry’s Declaration Because
                    It Does Not Pertain to Plaintiffs’ Complaint
           In Paragraph Fifteen of his Declaration Cherry states that “[i]n order for GNC to stave off

the Oregon litigation, it would have had to pay well in excess of $1,000,000. GNC decided not

to pay the amount demanded by the OAG.” Cherry Decl. ¶ 15. This statement goes hand in

hand with Paragraph Eight’s averment regarding Cherry’s personal opinion that the OAG was
attempting to use the Welch Declaration to “force a quick payout from GNC.” Id. at ¶ 8. This

statement has no relevance to Plaintiffs’ Complaint and should be stricken. See Hare v. Potter,

549 F. Supp. 2d 688, 697 n.8 (E.D. Pa. 2007) (striking affidavit on ground that it was not

relevant “‘evidence having any tendency to make the existence of any fact that is of consequence

to the determination of the action more probable or less probable than it would be without the

evidence.’”) (quoting Fed. R. Evid. 401).



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    Apparently realizing that it would be improper, GNC did not ask the Court to take judicial notice of this email.

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        D.       The Court Should Strike Portions of the Cherry Declaration That Seek to
                 Introduce Facts Not Pleaded in the Complaint
        Finally, even portions of the Cherry Declaration containing facts which might be

admissible at trial cannot be considered on a motion to dismiss, and therefore should be stricken.

As discussed in greater detail in Plaintiffs’ concurrently filed Opposition to Request for Judicial

Notice, only facts pleaded in the Complaint, and documents integral to the Complaint, can be

considered to determine whether the Complaint states a cause of action. See Angelastro v.

Prudential Bache Securities, 764 F.2d 939, 944 (3d Cir. 1985). The Cherry Declaration seeks to

introduce purported facts and documents for the Court’s consideration that were not pleaded in

the Complaint. See ¶¶ 2 (purported description of GNC’s third-party vendor agreements); 4

(facts in The New York Times article – these are also hearsay), 6 (“GNC never received a notice

of any kind from FDA …”), 7 (facts pertaining to a “Certificate of Free Sale”), 10 (“GNC

immediately removed ALL products …”), 11 (“GNC never received a copy of these warning

letters from the FDA itself.”), 14 (“GNC has not received warning letters …”), and 17 (“GNC

has never received Dr. Welch’s declaration … from the FDA”). Cherry has not been subject to

cross examination regarding these facts, and they cannot be considered at this stage of the

proceeding. These paragraphs also introduce documents which are not mentioned in the

Complaint, which is inappropriate for the reasons more fully enumerated in Plaintiffs’ Response

in Opposition to Defendant’s Request for Judicial Notice. 3




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 The unobjectionable paragraphs of the Cherry Declaration (¶¶ 3, 5, 12, 13 and 16) simply repeat allegations in the
Complaint. There is no need to rely on the Declaration for these factual propositions.

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III.   CONCLUSION
       In light of the foregoing, Plaintiffs respectfully request that the Court grant their Motion

to Strike Cherry’s Declaration, and that the Court disregard all references or inferences in

Defendant’s Motion to Dismiss relating to the Cherry Declaration.

 Dated June 24, 2016
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